                             UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION

UNITED STATES OF AMERICA                          )
                                                  )
       v.                                         )           NO. 2:19-CR-00010
                                                  )
                                                  )           JUDGE CAMPBELL
GILBERT GHEARING                                  )

                         UNITED STATES’ MOTION FOR LEAVE
             TO FILE MOTION IN LIMINE PAST THE COURT-IMPOSED DEADLINE

        The United States of America, by its attorneys Thomas J. Jaworski, Attorney for the United

States Acting Under Authority Conferred by 28 U.S.C. § 515, and Sarah K. Bogni, Juliet Aldridge,

and Amanda J. Klopf, Assistant United States Attorney, hereby moves for leave to file its motion

in limine after the deadline set by the Court. In support of such motion, the United States submits

the following:

        1.       On February 3, 2023, the Court issued an order related to the scheduling of matters

in this case, which provided in relevant part that by February 7, 2023, the parties should file

motions concerning matters not previously addressed. (DE 1131).

        2.       On August 15, 2022, the United States provided the defendant with a production

specific to business records certifications, which included the bulk of the certifications in the

attached motion.

        3.       On September 3, 2022, the United States sent a set of proposed stipulations to the

defendant that included reference to the business records. The Defendant declined to accept the

stipulation.



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        4.     On February 8, 2023, the United States sent a revised set of proposed stipulation to

the defendant that included reference to the business records. At this point, it appears that a

stipulation will not be agreed to.

        5.     The United States hereby requests leave to late-file its Motion in Limine. Resolving

the issue of the admissibility of business records based upon a certificate of authentication in

accordance with Federal Rules of Evidence 803(6) and 902(11) prior to trial could ensure that

multiple unnecessary witnesses would not need to be called before this Court, and would expedite

the trial.

        WHEREFORE, the United States respectfully requests leave to late file its Motion in

 Limine to Admit Documents Pursuant to Business Records Certifications.

                                                            Respectfully submitted,

                                                            THOMAS J. JAWORSKI
                                                            Attorney for the United States
                                                            Middle District of Tennessee
                                                            Acting Under Authority Conferred
                                                            by 28 U.S.C. § 515

                                                     By:      s/ Amanda J. Klopf
                                                            Amanda J. Klopf
                                                            Sarah K. Bogni
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                               CERTIFICATE OF SERVICE


I hereby certify that on February 13, 2023, a copy of the foregoing document was filed on CM/
ECF, which will send notifications to all parties or their counsel of record.




                                                            s/ Amanda Klopf
                                                           AMANDA KLOPF
                                                           Assistant United States Attorney




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